AO 440 (Rev. 06/12) Summons in a Civil Action


                                       United States District Court
                                                                  for the

                                                     Eastern District of Tennessee

                                                                                                                             jul 15 im
                      MIKAYLA EVANS                                 )
                                                                    )                                                Clerk, U. S. District Court
                                                                    )                                           Eastern District of Tennessee
                                                                    )                                                   At Knoxville

                            Plaiiitijf(s)                           )
                                                                    )
                                 V.                                           Civil Action No.    2:24-cv-106
                                                                    )
                   JOHNSON CITY, et al.,
                                                                    )
                                                                    )
                                                                    )
                                                                    )
                           Defend(ml(s)                             )

                                                  SUMMONS IN A CIVIL ACTION


To: (Defeiulaiil's name and address]
                                        Brady Higgins
                                        807 Charway Drive
                                        Johnson City, TN 37601




         A lawsuit has been tiled against you.

         Within 21 days after service of this summons on you (not counting the day you received it) ●— or 60 days if you
arc the United States or a United States agency, or an officer or employee of the United States described in Fed. R, Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                        Robert Dziewuiski
                                        Ashieigh Beer-Vineyard
                                        DZ Law, PLLC
                                        800 S. Gay Street, Suite 2131
                                        Knoxville, TN 37929



         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERWO/F COURT


Date:      06/21/2024
                                                                                             Signature of Clerk or      aiA!-Cl

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                                                                                JUL 01Z024 (ixDlCXd^
        Case 2;24“CV-00106-JRG-CR\A/                   Document 5           Filed 06/21/24     Page 1 of 2           PagelD#:46
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 Civil Action No. 2:24-cv-106

                                                           PROOF OF SERVICE

                       (This section should not he ifled with the court unless required by Fed. R. Civ. P. 4 (1))

           This SUmrnonS for (name of individual and title, if any)
                                                                                      y        Hi          » AJ/^
 was received by me on (date)           *7^ 2.

           S) I personally served the summons on the individual at (place)                       7_
                        t
                        t J-e.                                                     on (date)                            ; or


           □ I left the summons at the individual’s residence or usual place of abode with (name)

                                                                  , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a eopy to the individual’s last known address; or

           □ T served the summons on (name of individual)                                                                        , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                   on (date)                            ; or


           □ I returned the summons unexecuted because                                                                                ; or


           D Other (specify):




           My fees are S                           for travel and $                    for services, for a total of $          0.00



           I declare under penalty of perjury that this information is true.



 Date:    7--?          ^
                                                                               /               Server's signature



                                                                                           Printed name and tide




                                                                                               Server's address



Additional information regarding attempted service, etc:




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